                    IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            STATESVILLE DIVISION
                                5:04CV104-1-V
                                5:02CR37-1-V


SMITH LATRAIL TURNER,           )
                                )
           Petitioner,          )
                                )
vs.                             )                         ORDER
                                )
UNITED STATES OF AMERICA,       )
                                )
           Respondent.          )
________________________________)

       THIS MATTER comes before the Court upon Respondent’s Motion for Summary

Judgment, filed November 22, 2004.

       For the reasons set forth below, Respondent’s Motion for Summary Judgment is

granted and Petitioner’s Motion to Vacate is dismissed.

                                 PROCEDURAL HISTORY

       On September 10, 2002, Petitioner was indicted on one count of conspiracy to

possess with intent to distribute and to distribute five kilograms or more of cocaine and fifty

grams or more of cocaine base.       On November 30, 2002, Petitioner executed a non-

attribution agreement in which he agreed to freely and voluntarily make a statement to

agents in the presence of his attorney, in order to further plea discussions. On April 17,

2003, Petitioner, through his attorney, entered a plea of guilty. In his plea agreement,

Petitioner expressly agreed “to enter a voluntary plea of guilty to Count One as set forth

in the Bill of Indictment, and admit[ted] to being in fact guilty as charged in that Count.”

(Plea Agr. ¶ 1). Petitioner also stipulated that the amount of cocaine base that was known


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or reasonably foreseeable by him was at least 500 grams but less than 1.5 kilograms.

(Plea Agr. ¶ 2). On May 14, 2003, Petitioner entered a guilty plea at his Plea and Rule

11 hearing. (Entry and Acceptance of Guilty Plea Form, No. 21). He further admitted that

he had received a copy of the Indictment and had reviewed it with his attorney and

discussed possible defenses with his attorney.       (Entry and Acceptance of Guilty Plea

Form, Nos. 8, 29).    Petitioner also stated that he was happy with the services of his

attorney. (Entry and Acceptance of Guilty Plea Form, No. 30).

       On August 18, 2003, after granting a downward departure motion made by the

Government, this Court sentenced Petitioner to 200 months imprisonment. Petitioner did

not directly appeal his sentence or conviction.

       On September 8, 2004, Petitioner filed the instant Motion to Vacate, Set Aside, or

Correct Sentence with this Court. In his Motion to Vacate Petitioner alleges that his

counsel was ineffective because he failed to conduct a pre-sentence investigation which

would have enabled counsel to advocate for a “diminished capacity” downward departure

at sentencing.

                                       ANALYSIS

       Petitioner’s contention that he received ineffective assistance of counsel is

governed by the holding in Strickland v. Washington, 466 U.S. 668, 687-91 (1984). In

Strickland, the Supreme Court held that in order to succeed on an ineffective

assistance of counsel claim, a petitioner must establish that counsel’s performance was

constitutionally defective to the extent it fell below an objective standard of

reasonableness, and that he was prejudiced thereby, that is, there is a reasonable


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probability that but for the error, the outcome would have been different. In making this

determination, there is a strong presumption that counsel’s conduct was within the wide

range of reasonable professional assistance. Id. at 689; Fields v. Attorney General of

Md., 956 F.2d 1290, 1297-99 (4th Cir.), cert. denied, 474 U.S. 865 (1995). Petitioner

bears the burden of proving Strickland prejudice. Fields, 956 F.2d at 1297. If the

petitioner fails to meet this burden, a “reviewing court need not consider the

performance prong.” Id. at 1290.

       Moreover, a petitioner who alleges ineffective assistance of counsel following

the entry of a guilty plea has an even higher burden to meet. Hill v. Lockhart, 474 U.S.

52, 53-59 (1985). When a petitioner challenges a conviction entered after a guilty plea,

in order to establish the requisite prejudice, such a petitioner must show that “there is a

reasonable probability that but for counsel’s errors he would not have pleaded guilty

and would have insisted on going to trial.” Hooper v. Garraghty, 845 F.2d 471, 475 (4th

Cir. ), cert. denied, 488 U.S. 843 (1988).

       Petitioner alleges that his counsel was ineffective because he failed to conduct

an appropriate investigation into Petitioner’s mental health background for defense

purposes at sentencing. Petitioner argues that had his counsel properly investigated

his case he would have discovered grounds for arguing for a diminished capacity

downward departure.

       Petitioner contends, and his counsel freely admits, that he informed counsel that

he had difficulty reading and writing and that he had been placed in special education

classes throughout his school years. (Winthrop Aff. ¶¶ 5, 7). Such assertions,


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however, are not sufficient to automatically require an investigation into a defendant’s

mental capacity. This is particularly true when the decision not to investigate further is

based upon personal observations negating the need for such course of conduct. In

the instant case, counsel sets forth in his affidavit that based upon his interactions with

Petitioner he concluded that he understood his involvement in the conspiracy and the

criminal process he found himself in.” (Winthrop Aff. ¶¶ 5, 7).

       Moreover, even if counsel were ineffective for failing to investigate Petitioner’s

mental capacity, the evidence presented by Petitioner simply does not support a finding

that such a motion would have succeeded. Section 5K2.13 of the United States

Sentencing Guidelines sets forth that, in some circumstances, a sentence below the

applicable guideline range may be warranted if the defendant suffers from a

significantly reduced mental capacity and the significantly reduced mental capacity

contributed substantially to the commission of the offense. The guidelines define

“significantly reduced mental capacity” as a defendant who has “a significantly impaired

ability to (A) understand the wrongfulness of the behavior comprising the offense or to

exercise the power of reason; or (B) control behavior that the defendant knows is

wrongful.” U.S.S.G. § 5K2.13, comment (n.1).

       Petitioner’s own affidavit fails to demonstrate that he did not understand the

wrongfulness of his behavior or that he was unable to control his wrongful behavior.

Petitioner concedes that he “may have known that it is wrongful to deal drugs.” (Pet.

Mot. to Vac. p. 4). Such concession leaves Petitioner to argue that he could not

control such behavior.


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       In support of his contention that he could not control his behavior, Petitioner

cites to the fact that he has a learning disability, he did poorly in school, his family was

welfare dependent, and he was exposed to drugs at an early age. (Turner Aff. ¶¶ 1-3).

Petitioner states that he was teased while growing up because of his learning disability

and that it was not until he became a drug dealer that he garnered respect. (Turner Aff.

¶ 4). Petitioner further elaborates that “[i]n other words being a drug dealer made me

feel accepted and respected in my neighborhood and people for the first time in my life

treated [me] as if I was somebody, which had a powerful affect [sic] on me.” (Turner

Aff. ¶ 4). Petitioner thus concludes that he could not control his behavior of selling

drugs because “it was the only way that [he] knew to fit in, in the type of environment

[he] lived in.” (Turner Aff. ¶5).

       Although the Court is sympathetic to the hardships of Petitioner’s childhood and

to the difficulties he encountered as a result of his learning disability, these facts do not

support the conclusion that he could not control the wrongfulness of his behavior. That

is, contrary to Petitioner’s contention, the desire for social acceptance cannot be used

to justify criminal behavior. This is true even if, as in Petitioner’s case, the criminal act

compensates for a mental deficiency. To hold otherwise would be to make available

the diminished capacity downward departure to every defendant who was a poor

student in a tough neighborhood and asserted that they dealt drugs to be accepted.

        Petitioner argues in his response to Respondent’s Motion for Summary

Judgment that he cannot obtain the necessary affidavits to prove prejudice and

therefore requests an evidentiary hearing. The burden for establishing prejudice in an


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ineffective assistance of counsel claim, however, is on the Petitioner. See Fields, 956

F.2d at 1297(Petitioner bears the burden of proving Strickland prejudice). As detailed

above, Petitioner’s own assertions in his Motion to Vacate lead this Court to conclude

that he would not qualify for a diminished capacity downward departure. Petitioner’s

request for an examination by a psychiatrist is beyond the scope of this proceeding, but

in any event he has not established a basis on which such a request might be deemed

meritorious.

      THEREFORE, IT IS HEREBY ORDERED that:

      1. Respondent’s Motion for Summary Judgment is GRANTED; and

      2. Petitioner’s Motion to Vacate, Set Aside, or Correct Sentence is DISMISSED.



                                           Signed: February 9, 2006




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